218 F.2d 821
    Edwin Monroe BROWNING, Appellant,v.UNITED STATES of America, Appellee.
    Misc. No. 410.
    United States Court of Appeals, Ninth Circuit.
    Jan. 18, 1955.
    
      Edwin M. Browning in pro. per.
      No appearance for respondent.
      Before DENMAN, Chief Judge, and BONE and POPE, Circuit Judges.
      PER CURIAM.
    
    
      1
      Defendant was convicted of auto theft in the United States District Court for the Northern District of California, Northern Division, and has sought relief from that judgment.  He has been denied a new trial, a writ of mandate, and his motion pursuant to 28 U.S.C. § 2255 has been denied.
    
    
      2
      His application to appeal forma pauperis was denied by the lower court which certified the appeal was not taken in good faith.  He now petitions this court to review these decisions forma pauperis.  The petition is dismissed.  28 U.S.C. § 1915.
    
    